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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MAINE

KATHERINE M. CADY, as Personal             )
Representative of the ESTATE OF            )
PAUL VICTOR GALAMBOS, III,                 )           Docket No. 2:10-cv-512-NT
                                           )
        Plaintiff,                         )
                                           )
v.                                         )
                                           )
CUMBERLAND COUNTY JAIL, et                 )
al.                                        )
                                           )
        Defendants                         )
                                           )

                           JOINT STIPULATION OF DISMISSAL

       Now come the parties in the above-captioned matter, by and through undersigned

counsel, and stipulate, pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, to the

dismissal of all remaining claims against Defendants Barbara Walsh, DON; Michael

Trueworthy, NP; and Linda Williams, LCSW set forth in Plaintiff’s Third Amended Complaint.

This dismissal shall be with prejudice and without costs or attorneys’ fees to any party.


       Dated at Portland, Maine this 25th day of November, 2014.



                                                /s/Eric Mehnert
                                               Eric Mehnert, Esq.
                                               Attorney for Plaintiff Katherine M. Cady,
                                               as Personal Representative of the
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                                    /s/Michael E. Saucier
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